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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:                                                        Case No.: 19-23739-BKC-RAM

CAROLINA DEL VALLE MOLINA,                                    Chapter 13

                Debtor.
                                              /

FACE BANK INTERNATIONAL CORPORATION’S RESPONSE IN OPPOSITION TO
         GLORIA MOLINA’S MOTION FOR PROTECTIVE ORDER

         Face Bank International Corporation (“Creditor”) of the bankruptcy estate of Carolina Del

Valle Molina (“Debtor”), by and through its undersigned counsel, files this Response in Opposition

to the Motion for Protective Order [D.E. 87] (the “Motion”) filed by Gloria Molina (“Molina”) in

the above-captioned Chapter 13 proceeding, and in support states as follows:

                                  FACTUAL BACKGROUND

         1.     This is a Chapter 13 case which was filed on October 14, 2019.

         2.     On May 13, 2020, the Debtor’s mother, Gloria Molina, executed an Affidavit of

Support [D.E. 79], stating that: i) she provides Debtor the sum of $2,500.00 per month, in “cash”

or by paying for debts or other necessities; ii) she and her husband receive steady rental income

from several commercial rental properties; and iii) she has sufficient income to provide this support

to Debtor until Debtor’s bankruptcy is completed.

         3.     Creditor has no information on Molina, her husband, their income to fund the Plan,

or their commercial rental properties (location, rental amount, or anything else). This information

is necessary for the Creditor to consider the feasibility of the Plan and for the Court to make a

finding of feasibility, which is wholly dependent on the accuracy and credibility of the Affidavit.
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       4.      Due to the lack of information regarding Molina’s actual ability to fund the

Debtor’s over $5,000 monthly Plan payment, Creditor subsequently filed a Notice of Rule 2004

Videotaped Examination Duces Tecum of Gloria Molina [D.E. 80] (“Rule 2004 Notice”).

       5.      On June 5, 2020, the date after Molina was scheduled to provide all documents

required in the Rule 2004 Notice, Creditor reached out to Debtor’s counsel to ensure that Molina

had the full fourteen days to produce all documents and to reset a mutually agreeable deposition

date. A copy of the email correspondence is attached hereto as Exhibit “A.”

       6.      Debtor’s counsel never responded to that email.

       7.      Instead, on June 5, 2020, Molina filed a Motion for Protective Order without first

conferring with Creditor [D.E. 87].

                                         LEGAL ARGUMENT

       8.      The broad discovery available under Rule 2004 is well known. Examinations under

Rule 2004 are allowed for the purpose of discovering ascertaining the acts, conduct or property or

the liabilities and financial condition of the debtor or any matter which may affect the

administration of the debtor’s estate.

       9.      The Motion states that Molina has agreed to assist Debtor financially each month.

Molina Mot. ¶ 5. As such, Molina has made her finances an issue in the case to the extent feasibility

of Debtor’s proposed Chapter 13 Plan depends solely on Molina’s contributions to same.

       10.     Molina has failed to include any details or information relating to proof of income,

assets, liabilities, or precise source of funds for the payments to Debtor in the Affidavit. See

generally Molina Aff. Furthermore, Molina now objects to the production any supporting

documentation establishing her ability to fund contributions to the Debtor’s proposed Chapter 13

Plan
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       11.       The discovery requested in Creditor’s Rule 2004 Notice is directly relevant to these

issues and is far from an annoyance or an undue burden. Her proof of income, bank statements,

tax returns and evidence of assets from which the income to support the Chapter 13 plan will be

derived are at issue in respect to the feasibility and confirmability of the Debtors proposed Chapter

13 Plan, and Molina put them at issue.

       12.       A non-debtor’s unsubstantiated affidavit of support of a debtor makes it virtually

impossible to determine whether the non-debtor could maintain the support throughout the

bankruptcy. See In re Sigfrid, 161 B.R. 220, 222-23 (Bankr. D. Minn. 1993) (holding that a debtor

was not eligible for Chapter 13 relief where payments by a non-debtor affiant could not constitute

regular income in absence of evidence concerning the nature of the affiant’s employment, how

often the affiant worked, where the affiant worked, or what the affiant’s liabilities were).

       13.       Without the discovery sought in Creditor’s Rule 2004 Notice, neither Creditor nor

this Court have any way of knowing how Molina purports to provide Debtor with monthly support

sufficient to fund the Chapter 13 Plan that now includes an over $5,000 per month payment,

Without this discovery, Creditor’s hands are tied because it will not have the information to rebut

this key issue, nor will this Court have sound information to support a finding of feasibility of

Debtor’s Plan.

       14.       Because Molina is a third party, there was no reason for Creditor to clear a date in

advance of service of the subpoena upon Molina with Debtor’s counsel. Notwithstanding, on June

5, 2020, undersigned counsel communicated with counsel for the Debtor advising that Molina had

been served, extending the date to provide documents, and inquiring about setting a mutually

agreeable deposition date. See Ex. A.
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       15.     Counsel for the Debtor failed to respond to the correspondence and instead filed the

Motion in violation of Local Rule 7026-1 by failing to confer with undersigned counsel prior to

the filing of the Motion. Moreover, the Motion fails to include a Certificate of Attorney certifying

that she conferred with undersigned counsel in a good faith effort to resolve the issues raised.

       WHEREFORE, Creditor, Face Bank International Corporation, respectfully requests this

Court to enter an Order: i) denying Gloria Molina’s Motion for Protective Order; ii) requiring

Molina to make full production within 10 days from the date of the Order; iii) requiring a

deposition to be scheduled within 30 days after the production date on a mutually agreeable date;

iv) continuing all pending matters, including the Motion to Modify the Chapter 13 Plan and the

Motion for Stay Relief until after discovery is complete; and v) grant any other just relief the Court

deems just and proper.

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case and via regular US mail to all participants who are

not on the list to receive e-mail notice/service for this case as indicated on the service list on June

12, 2020.

       Dated: June 12, 2020.                           SEQUOR LAW, P.A.
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                                                       By: /s/ Leyza F. Blanco
                                                              Leyza F. Blanco
                                                              Florida Bar No. 104639
                                                              Amanda E. Finley
                                                              Florida Bar No. 100225
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                                         SERVICE LIST

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

   •   Leyza F. Blanco lblanco@sequorlaw.com, jdiaz@sequorlaw.com
   •   Timothy S Kingcade scanner@miamibankruptcy.com,
       kingcadeserve@bellsouth.net;r46540@notify.bestcase.com
   •   Nancy K. Neidich e2c8f01@ch13miami.com, ecf2@ch13miami.com
   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
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EXHIBIT A
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From:              Amanda E. Finley
To:                Kristina Gonzalez
Cc:                Leyza Blanco; Jennifer Diaz
Subject:           Face bank - Gloria Molina Rule 2004
Date:              Friday, June 5, 2020 9:05:13 AM




Hi Kristina,

Gloria Molina was served with the Rule 2004 on May 29. To provide the required 14 days‘ notice, please produce
all documents by June 12 and please advise of available deposition dates 10-14 days from June 12, so we can
determine a mutually agreeable deposition date.

Thanks,
Amanda
